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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

JAMIE HOFF

         Plaintiff,

v.                                                CASE NO.:

CONSUMER ADJUSTMENT COMPANY,
INC.

         Defendant.


                           DEFENDANT’S NOTICE OF REMOVAL

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1446(a) and (b), the Defendant

Consumer Adjustment Company, Inc. (“Defendant”), hereby removes this case to the United

States District Court for the Eastern District of Missouri, Eastern Division based on the

following grounds:

                                   THE REMOVED ACTION

         1.      Consumer Adjustment Company, Inc. is a Defendant in a civil action that was

brought on or about August 13 2012, by Jamie Hoff in the 11th Judicial Circuit Court, St.

Charles County, Missouri

                                    FEDERAL QUESTION

         2.      This action is removable to the United States District Court under 28 U.S.C. §§

1331 and 1441 on the grounds of federal question jurisdiction, in that the complaint purports to

allege a cause of action under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.

§1692, et seq.




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                                  THE REMOVAL IS TIMELY

         3.      Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is filed within thirty days

after Defendant’s receipt of the initial pleadings setting forth the claim for relief upon which this

action is based.

                             PAPERS FROM REMOVED ACTION

         4.      Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit “A” are copies of the

following documents, which are all the process, pleadings and orders received by Defendant in

this action.

                                FILING OF REMOVAL PAPERS

         5.      Upon receipt of this Notice, no further action shall be taken in the 11th Circuit

Court, St. Charles County, State of Missouri.

         6.      By filing this Notice of Removal, the Defendant demonstrates their consent to the

removal of the case to this Court.

         WHEREFORE, Defendants do hereby remove the above captioned action from the 11th

Judicial Circuit Court, St. Charles County, Missouri, and requests that further proceedings be

conducted in this Court as provided by law.

                                                Respectfully submitted,

                                              FRANKEL, RUBIN, BOND, DUBIN,
                                                  SIEGEL & KLEIN, P.C.

                                                By_Mayer S. Klein_________________________
                                                  MAYER S. KLEIN, #MO32605
                                                  mklein@frankelrubin.com
                                                  Counsel for Defendant
                                                  231 South Bemiston Avenue, Suite 1111
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                               CERTIFICATE OF SERVICE

       This is to certify that on September 14, 2012, I have filed electronically a copy of the
within and foregoing Defendant’s Notice of Removal in the United States District Court for the
Eastern District of Missouri, Eastern Division through the Courts electronic filing system to:

Richard A. Voytas, Jr.
James W. Eason
Eason & Voytas, LLC
1 North Taylor Ave.
St. Louis, Missouri 63108
Attorneys for Plaintiff



                                                   /S/ MAYER S. KLEIN
                                                   MAYER S. KLEIN




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